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UNITED STATES DISTRICT COURT
Southern District of Florida

Case No.:

 

GAVIN D. MCKENZIE,
Plaintiff,
v.
UNITED STATES OF AMERICA,

Defendant.

 

COMPLAINT FOR DAMAGES

COMES NOW, the Plaintiff, GAVIN D. MCKENZIE, by and through the undersigned
attomey, hereby sues Defendant, UNITED STATES OF AMERICA (hereinafter referred to as
“USA”), and pursuant to all applicable Federal Rules of Civil Procedure alleges as folloWs:

l. This is an action for damages that exceeds $75,000.00.

2. At all times material hereto, the Plaintiff Was a resident of Miami-Dade County,
Florida and all incidents described in this Complaint occurred in Miami-Dade County, Florida.

3. Plaintiff has completed all pre-trial requirements to bring an action against the
Defendant, USA.

4. At all times material hereto, KORY E. CRONIN (hereinafter referred to as
“CRONIN”), Was Working Within the course and scope of his employment for United States

Coast Guard at the time of the accident

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5. Pursuant to the Federal Rules of Civil Procedure, UNITED STATES OF
AMERICA is the proper Defendant because CRONIN was working for United States Coast
Guard.

6. On or about October 20, 2009, CRONIN operated a motor vehicle which was
owned by the United States Coast Guard and was at the intersection of NW 42nd Avenue and
State Road 836, in Miami-Dade County, Florida.

7. At that time and place as aforestated, CRONIN negligently, recklessly, carelessly
and/or intentionally operated or maintained the motor vehicle so that it collided with the motor
vehicle owned and operated by the Plaintiff, GAVIN D. MCKENZIE (hereinafter referred to as
“MCKENZIE”).

8. As a direct result of the Defendant’s negligence, the Plaintiff, MCKENZIE,
suffered permanent losses including but not limited to bodily injury and resulting pain and
suffering, disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life,
expenses of hospitalization, medical and nursing care and treatment, aggravation or acceleration
of pre-existing injury, loss of earnings and loss of ability to earn money. These losses are either
permanent or continuing in nature and the Plaintiff will suffer these losses in the future.

9. As a direct result of the Defendant’s negligence, the Plaintiff’ s automobile was
damaged and he lost the use of it during the time period required for the repair or replacement of
said vehicle. Furthermore, the Plaintiff incurred monetary losses in the expenses of a rental
vehicle necessary for transportation during the time period required for repair or replacement of
the Plaintiffs vehicle damaged as a result of the Defendant’s negligence

lO. Pursuant to Federal law, Plaintiff requests a trial by Judge.

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WHEREFORE, the Plaintiff demands judgment against the Defend-ant, USA, for

damages, costs of this action and all other further equitable and legal relief as this Court may

deem appropriate, and demands a jury trial on all issues so triable.

DATED this L“ day ofMay, 2011.

GOLDBERG & ROSEN, P.A.
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